 Lindsey Springer
 Case 4:09-cr-00043-SPF Document 196-3 Filed in USDC ND/OK on 10/14/09 Page 1 of 1
 From:       "O'Reilly, Charles A. (TAX)" <CharlesAO'Reilly@usdoj.gov>
 To:         <Iindsey@mindspring.com>
 Cc:         "Snoke, Ken (USAOKN)" <Ken.Snoke@usdoj.gov>;         "Hall, Kathie (USAOKN)"
             <Kathie. Hall@usdoj.gov>
 Sent:       Tuesday, October 13, 2009 5:40 PM
 Subject:    RE: OV4C-ltinerary Only For SPRINGER LINDSEY KENT 10/15/09

Mr. Springer:

I will not waste more time with you on this issue. Your continued
misrepresentations of what we discussed, and your reneging on your
previous agreements, renders additional discussion with you futile.

If you wish to waste the Court's time with your position, you are
obviously free to do so. However, we will apprise the Court of all of
the representations you have made, as well as our attempts to resolve
this with you amicably.

Sincerely,

Charles A. O'Reilly
Special Assistant U.S. Attorney
Northern District of California




-----Original Message-----
From: lindseY@tnindspring.~Qm (mailto:lindsey@mindspring.com]
Sent: Tuesday, October 13, 2009 6:28 PM
To: O'Reilly, Charles A. (TAX)
Subject: RE: OV4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09


Dear Mr. O'Rielly and Snoke - I will not agree with your 2:00 p.m.
proposal. First, you are the ones who are asking me to take important
pre-trial time to take this deposition. I am having to go double
overtime prior to the 14th including getting ready for a deposition I
was not needed to take until after the 26th. You are asking me to stop
Thursday at noon and take the chance of having to worry about return on
Friday while staying focused at a trial deposition of Ms. Wiggins. I
agreed to do the depo on Friday for one because you said you could not
do it next week as Mr. Snoke said "that is too close to trial."

Though that is not my problem I have accomidated you and now learn you
are trying to save $100 "taxpayer's money" in an additional hotel room
for Friday night which the Oklahoma "taxpayers" should have thought
about before they decided to take a deposition on Friday Morning in
California (everyone who has ever traveled this route knows the time
issue is more than difficult). As I said earlier Apprx. 9:00 A.M.to
                                                                                            10/14/2009
